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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JAMES E. PIETRANGELO, II,

                Plaintiff,

        v.                                               No. 18-cv-1943 (DLF)

 REFRESH CLUB, INC., et al.,

                Defendants.


                                            ORDER

       For the reasons stated in the accompanying memorandum opinion, it is

       ORDERED that the defendants’ Motion to Dismiss, Dkt. 11, is DENIED;

       ORDERED that the plaintiff’s First Motion for Judicial Notice, Dkt. 17, Second Motion

for Judicial Notice, Dkt. 18, Third Motion for Judicial Notice, Dkt. 19, and Fourth Motion for

Judicial Notice, Dkt. 20, are GRANTED as conceded under Local Civil Rule 7(b).




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                                                            DABNEY L. FRIEDRICH
                                                            United States District Judge
June 4, 2019
